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8                         UNITED STATES DISTRICT COURT
9                       EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,          No. 2:06-cr-0200-MCE
12              Plaintiff,
13         v.                           ORDER CONTINUING STATUS CONFERENCE
14   CHRISTOPHER M. CRAIG, ET AL.,
15             Defendant.
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17         Based upon the stipulation of the parties and good cause
18   appearing, it is hereby ordered that the Status Conference
19   scheduled to occur on Tuesday, July 18, 2006, at 8:30 a.m. is
20   continued to August 29, 2006 at 8:30 a.m.        Pursuant to 18 U.S.C.
21   § 3161 the Court finds that the failure to grant such a
22   continuance would likely result in a miscarriage of justice given
23   that the parties need additional time to review discovery and
24   evaluate any necessary motions which need to be filed and
25   possible plea negotiations.      The Court finds that the ends of
26   justice served by continuing the Status Conference outweigh the
27   best interest of the public and the Defendant in a speedy trial.
28   ///
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1         Accordingly, it is further Ordered that the time from July
2    18, 2006 and August 29, 2006 be excluded under the Speedy Trial
3    Act, 18 U.S. C. §§ 3161-3174 and specifically Local Rule T4..
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5    DATED: July 18, 2006
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8                                     _____________________________
                                      MORRISON C. ENGLAND, JR
9                                     UNITED STATES DISTRICT JUDGE
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